           Case 3:12-cr-02496-AJB                         Document 79            Filed 08/23/12             PageID.138                Page 1 of 2


     '!!!.AO 2458 (CASD) (Rev. 1/12)   Judgment in a Criminal Case
                Sheet I.




                                                 UNITED STATES :ql~TmS <f~12~
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                                      0"                      .'"

                      UNITED STATES OF AMERICA                                   .'JUDGMENT IN 'A f:klMINAL CASE
                                           v.                                     (For Offenses Committed On or After November 1, 1987)

             GEORGINA RODRIGUEZ-DOMINGUEZ (01)                                    Case Number: 12CR2496-AJB-04
                                                                                   Stephen Patrick White
                                                                                  Defendant's Attorney
     REGISTRATION NO. 34151298

    o
     THE DEFENDANT:
     181 pleaded guilty to count(s) Count Eight of the Indictment
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
     Title & Section                            Nature of Offense                                                                         Numberls)
8 USC 1324(a)(l)(A)(ii)                  Conspiracy to Transport Illegal Aliens                                                                 8




        The defendant is sentenced as provided in pages 2 through _ _=-2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)

  IXJ
  ~ Count(s)R       .. C
           _e_m_al;...n_m.:.:g~o_un_t_s
                                                               ----------------------------------------------
                                        _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0       are IV! d'Ismlsse
                                                                                            . d on the motion
                                                                                                  ~       .   f the Umte
                                                                                                                      . d States. 0

 181 Assessment: $100.00 - Waived

  181 Fine waived                                      o Forfeiture pursuant to order filed ---------- , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                          12CR2496-AJB-04
      Case 3:12-cr-02496-AJB                    Document 79           Filed 08/23/12           PageID.139        Page 2 of 2


AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment - Page _ _2 _ of
 DEFENDANT: GEORGINA RODRlGUEZ-DOMINGUEZ (01)
 CASE NUMBER: 12CR2496-AJB-04
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED



      o Sentence imposed pursuant Title 8 USC Section 1326(b).
                                        to

      o The court makes the following recommendations to the Bureau ofPrisons:


      o The defendant is remanded to the custody of the United States MarshaL
      o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op·m.       on
               as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before ---------------------------------------
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                 RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                     to

 at   _____________ >                                with a certified copy of this judgment.


                                                                                               UNITED STAlES MARSHAL


                                                                      By _______~~~~==~~~~~~---------
                                                                                          DEPUTY UNITED STAlES MARSHAL




                                                                                                                    12CR2496-AJB-04
